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                                    CLERK’S MINUTE SHEET
                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)
                               Before the Honorable Jerry H. Ritter
                                       Preliminary/Detention
Case Number:     19-mj-1077                        UNITED STATES vs. Archuleta
Hearing Date:    4/26/2019                         Time In and Out:        9:44-9:59 / 15 min
Clerk:           E. Romero                         Courtroom:              Rio Grande
                                                   Defendant’s
Defendant:       Daniel Archuleta                                          Michael Davis
                                                   Counsel:
AUSA             K. Houghton                       Pretrial/Probation:     Anthony Galaz

Interpreter:     N/A
Initial Appearance
☐    Defendant sworn

☐    Defendant received a copy of charging document

☐    Court advises defendant(s) of possible penalties and all constitutional rights

☐    Defendant

☐    Government moves to detain                    ☐      Government does not recommend detention

☐    Set for                                       on                           @
Preliminary/Show Cause/Identity
☒    Defendant waives Preliminary hearing

☐    Court finds probable cause                    ☐      Court does not find probable cause
Custody Status
☐    Defendant waives detention hearing

☒    Defendant will remain in custody              Order releasing defendant stayed

☒    Conditions of release imposed                 Placement at halfway house
Other
☐    Matter referred to    for final revocation hearing
     Defense requests release; Government objects; Court grants request; Government requests
☒    Court stay order until close of business on 4/26/2019; Court will stay order and detain
     defendant; Defendant will be released on Monday, April 29, 2019 if an appeal is not filed.
